89 F.3d 824
    NOTICE: First Circuit Local Rule 36.2(b)6 states unpublished opinions may be cited only in related cases.UNITED STATES, Appellee,v.Rafael TAVARES, Defendant, Appellant.
    No. 95-1403.
    United States Court of Appeals, First Circuit.
    July 8, 1996.
    
      Ronald Ian Segal on brief for appellant.
      Donald K. Stern, United States Attorney, Paula J. DeGiacomo and George W. Vien, Assistant United States Attorneys, on brief for appellee.
      Before SELYA, CYR and BOUDIN, Circuit Judges.
      Per Curiam.
    
    
      1
      Defendant pled guilty and was sentenced to a six-year term of imprisonment for a violation of 21 U.S.C. § 846.   On appeal he argues for the first time that the district court erred in permitting the government to point out an error in the presentence investigation report (PSI) after the time for doing so pursuant to Fed.R.Crim.P. 32(b)(6)(B) had passed.   This objection not having been made below, it is reviewed for plain error only.  See United States v. Peppe, 80 F.3d 19, 22 (1st Cir.1996).   After careful review of the parties' briefs and the entire record below, we find no error.   Pursuant to Fed.R.Crim.P. 32(b)(6)(D), the district court had the discretion to consider at the time of sentencing the government's objection to the PSI's manifestly mistaken reference to grams of cocaine rather than kilograms.   Based on the entire record of sentencing, which reveals the defendant unquestionably accountable for up to 100 kilograms of cocaine, we find no abuse of discretion in the district court's implicit finding of good cause to allow the government's tardy objection.
    
    
      2
      Affirmed. See Loc.  R. 27.1.
    
    